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              PSJ3
            Exhibit 591
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 Corporate Security & Regulatory Affairs
           Walgreens Update
                   Chris Zimmerman, Chief Compliance Officer




Meeting of the Audit & Corporate Responsibility Committee
August 7, 2013
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        Walgreens (WAG) Impact to CSRA

       8,000+ additional retail pharmacy locations

       200% increase in DEA Schedule 2 order forms

       50% increase in DC inventory

       50% increase in all controlled substance orders (C3-5)

       50% increase to the Order Monitoring Program

       50% increase in daily store deliveries




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                            CSRA Focus

       Due Diligence & Account Set-Up

       Order Monitoring Program (OMP)

       Diversion Control Program

       Security Concerns

       Business Continuity




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        CSRA Walgreens Onboarding
     Due Diligence & Account Set-Up

       DEA Notification of the transition of Walgreens Business to ABC
        (addendum A).
       Review of Walgreens prior DEA issues from 2009 up to and
        including June 2013 Memorandum of Agreement and $80 million
        fine.
       Verify 8,000+ State License & DEA Registration for each WAG
        location (e.g., schedules, address).
       Coordinate vault/cage expansions with DEA and ABDC
        Engineering/Operations including DEA pre-approval and final
        inspection.
       Closely monitor internal DC compliance via weekly reports.


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        Order Monitoring Program (OMP)
     Account Set-Up for OMP

       April 2013 – Pre-implementation meeting in Chicago with WAG
        Pharmaceutical Integrity Team to discuss respective programs.
       May 2013 – Follow-up meeting in Chicago with WAG Team for
        discussion of OMP thresholds and OMP strategy.
       Baseline due diligence information provided by WAG to assist in
        setting proper customer size for each individual location.
       Analysis of dispensing data provided by WAG to identify potential
        high risk locations.
       Ongoing bi-weekly conference call with WAG Team to discuss
        issues and/or concerns that may arise during the onboarding
        process.


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    CSRA OMP Process for Walgreens
     All WAG pharmacies are subject to the same due diligence and
      monitoring processes as all other ABDC customers – No Special
      Treatment.
     Orders transmitted by WAG first have to pass through WAG’s
      internal Order Monitoring process.
     CSRA OMP Manager reviews all WAG controlled substance orders
      to insure compliance by ABC Corporate and DC OMP Teams.
     Orders of interest will trigger a telephone call to the WAG
      Pharmaceutical Integrity Team to discuss the site’s dispensing
      history/patterns.
     A monthly review of WAG purchase quantities of high risk controlled
      substances is conducted in order to identify spikes and/or other
      variations in ordering patterns.

6
       CSRA Diversion Control Program
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                Walgreens
     In July 2013, CSRA & WAG conducted thirteen (13) joint visits to
      potentially high risk WAG locations throughout the state of Florida.
     Joint visits will continue at WAG locations nationwide.
     CSRA has contracted Pharma Compliance Group to conduct 200+
      surveillance visits to determine the presence of “red flags” normally
      associated with drug diversion.
     CSRA Investigators will conduct all on-site WAG investigations.
     Bi-weekly calls with WAG Pharmaceutical Integrity Team to discuss
      any issues.
     CSRA has extended an offer to the WAG Integrity Team to assist in
      training endeavors for WAG associates.



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                        Security Concerns
    Due to the increase in security risk and potential
      investigations arising from:
         The additional 8,000+ Walgreen Pharmacy sites
         The 50% increase in inbound freight
         The 50% increase in of outbound shipments
         The significant increase in high $$ outbound line-haul loads
         The potential increase in associate related incidents due to
          the increased staffing levels
     CSRA will monitor and add investigative resources as
     needed.
    CSRA conducts monthly conference calls with the WAG
     Security Team.

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     CSRA Business Continuity Program
     Modify the ABDC Business Continuity Program (BCP) to
      accommodate the Walgreens business:
        Evaluate the “Alternate Distribution Center” (ADC) capabilities
        Modify the “Customer Move” process to support the ADC capabilities
        Develop a process for BCP communications between ABDC and
         Walgreens
        Develop testing

     CSRA is working with ABDC and WAG on a
      comprehensive BCP playbook for WAG locations.




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                            Addendum A




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